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                                 UNITED STATES DISTRICT COURT

                                EASTERN DISTRICT OF LOUISIANA


  VERITEXT CORP.,                                    CIVIL ACTION NO. 16-13903

                         Plaintiff,                  c/w Civil Action No. 17-9877

          v.

  JOHN J. LEE, JR., VINCENT P.                       JUDGE IVAN L.R. LEMELLE
  BORRELLO, JR., MILTON
  DONEGAN, JR., SUZETTE MAGEE,
  KIMYA M. HOLMES, JOHN H.                           MAG. JUDGE JOSEPH C. WILKINSON
  ANDRESSEN, MAY F. DUNN,
  ELIZABETH C. METHVIN, and
  LAURA PUTNAM, in their official
                                                     SECTION “B”(2)
  capacities as Members of the
  Louisiana Board of Examiners of
  Certified Shorthand Reporters,

                         Defendants.


PLAINTIFFS’ ESQUIRE DEPOSITION SOLUTION LLC’S AND VERITEXT CORP.’S
MEMORANDUM IN OPPOSITION TO THE CSR BOARD DEFENDANTS’ MOTION
                 FOR PARTIAL SUMMARY JUDGMENT

         Plaintiffs Veritext Corp. (“Veritext”) and Esquire Deposition Solutions, LLC (“Esquire”)

oppose the Motion for Partial Summary Judgment filed by the CSR Board Defendants.

                                SUMMARY OF OPPOSITION

         The CSR Board Defendants seek summary judgment on the argument that the Court

cannot award damages or injunctive relief even if Plaintiffs prevail on liability when Article

1434 prohibits “contracting” and the CSR Defendants were doing nothing more than enforcing

the law as written. The CSR Defendants offered no evidence in support of their motion. The

CSR Defendants also raised this identical argument in their opposition to the appeal before the


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Fifth Circuit, and the Fifth Circuit specifically rejected it. Veritext Corp. v. Bonin, 901 F.3d 287

(5th Cir. 2018). This decision is the law of the case and binding on these proceedings. To make

matters worse, the CSR Defendants base their entire argument on a 1983 decision by the Eighth

Circuit without disclosing to the Court that the Eighth Circuit, in its own words, “was in

fundamental disagreement” with the Fifth Circuit at the time that it issued its opinion or that the

United States Supreme Court subsequently rejected the Eighth Circuit’s analysis in N. Carolina

State Bd. of Dental Examiners v. FTC, 574 U.S. 494, 135 S. Ct. 1101 (2015). See First

American Title Co. v. South Dakota Land Title Assoc., 714 F.2d 1454-55 (8th Cir. 1983).1

                                       FACTUAL BACKGROUND

         Discovery has revealed that the court reporter members of the CSR Board (the “Court

Reporters”)2 exercised their majority control over the Board to restrain competition and raise

rates for freelance court reporting services in Louisiana. Documents produced by the CSR

Defendants disclose, for example, that the Court Reporters caused the CSR Board to engage in a

rabid and sustained campaign to eliminate price competition in the form of volume discounts

among freelance court reporters in Louisiana and exclude out-of-state court reporting firms from

the Louisiana market.3 In connection with their campaign, the Court Reporters caused the CSR


1
  The Eighth Circuit wrote: “First American relies on cases from the Ninth and Fifth Circuits in arguing that the
challenged regulations were not compelled by the South Dakota legislature, thus they are not entitled to state action
immunity. Ronwin v. State Bar of Arizona, 686 F.2d 692 (9th Cir. 1981), cert. granted, 461 U.S. 926, 103 S. Ct.
2084, 77 L. Ed. 2d 296, 51 U.S.L.W. 3825 (1983); United States v. Texas State Board of Accountancy, 464 F. Supp.
400 (W.D.Tex. 1978), modified, 592 F.2d 919 (5th Cir.), cert. denied, 444 U.S. 925, 100 S. Ct. 262, 62 L. Ed. 2d
180 (1979). Our above discussion should indicate, however, that we are in fundamental disagreement with our
brethren in these circuits regarding application of the state action doctrine to state agencies or subdivisions.” Id.
2
  The court reporter members of the CSR Board at the time suit was filed were Vincent P. Borrello, Jr., Milton
Donegan, Jr., John H. Andressen, May F. Dunn, Suzette Magee, and Elizabeth Methvin and each has been sued by
Esquire and Veritext in their official and individual capacities (the “Court Reporters”).
3
 See Breckinridge Declaration (Breckinridge Decl.) Exhibit 1 at AND-0023 – AND-0030; Id. Ex. 2 at BON-0283,
0205; Id. Ex. 3 at BON-0422; Id. Ex. 4 at BON-0260, 0264, 0267; Id. Ex. 5 at BON-0335; Id. Ex. 6 at BON-0354;
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Board to adopt rules and regulations through which they obtained pricing information from their

competitors and directed court reporters not to offer volume discounts.4 They also caused the

CSR Board to issue subpoenas to court reporters, court reporter associations, and out-of-state

court reporting firms,5 initiate investigations against court reporters who conducted business with

out-of-state court reporting firms,6 and contact insurance companies and law firms by telephone

and in writing to discourage them from doing business with out-of-state court reporting firms.7

           Discovery has also revealed recordings of meetings among large groups of court reporters

in which the Court Reporters used “ethics training” as a forum to let court reporters discuss and

agree on strategies for eliminating price competition and excluding out-of-state competitors. The

strategies discussed by the court reporters included breaking “this state into five or six regions”

and “you get 10 firms in that region . . . and make a committee” and then say “Let’s come up

with some prices of what we think we need to charge for lay witnesses, expert witnesses, 24-hour

expedited.”8        Others suggested creating a “standard of the industry” rate.9 Some proposed

exchanging rate sheets or reporting court reporters to the CSR Board when they worked with




Id. Ex. 7 at HOL-0692; Id. Ex. 8 at VRLA_00000077; Id. Ex. 9 at VRLA_00000041; Id. Ex. 10 at
VRLA_00000186; Id. Ex. 11 at VRLA_00000054; Id. Ex. 12 at VRLA_00000085; Id. Ex. 13 at MAG-0127-128;
Id. Ex. 14 at AND-0095; Id. Ex. 15; Id. Ex. 16 at MAG-0107; Id. Ex. 17 at MAG-0125; Id. Ex. 18 at DON-0004; Id.
Ex. 19 at 1-36; Id. Ex. 20 at 6-10; Id. Exs. 21-29, 32-49.
4
    Id. Exs. 1-29, 32-49.
5
    Id. Ex. 21, 25-29, 45.
6
    Id. Ex. 6, 8, 22 at Board-000367-000371; Id. Ex. 23 at Board-001142-001159, Ex. 33.
7
    Id. Ex. 15 at Veritext-000011-000013; Id. Ex. 21 at BON-0047-0049; Id. Ex. 48.
8
    Id. Ex. 19 at time stamp 2:41-7:57.
9
    Id.

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out-of-state court reporting firms.10 One of the speakers at the seminar reported that a committee

of the CSR Board would be meeting the following week and that the Court Reporters “could do a

seminar for two days straight and never even finish talking about it at all.”11

            The Court Reporters also used their influence as officers, directors, and members of the

Louisiana Court Reporters Association (“LCRA”) to enlist its support in their cartel. The

minutes of the LCRA board meetings reflect that the LCRA had a policy against “contracting”

generally even though Louisiana law only prohibited certain types of agreements, that it sent

letters to Louisiana law firms and insurance companies urging them not to do business with out-

of-state court reporting firms, and that it urged a national trade association to adopt similar

policies and practices.12 Even though the national association informed LCRA that it would not

join in the cartel based on advice from its legal counsel, the LCRA President reported to Mr.

Borrello and other board members that she was disappointed by the “NCRA doing a 360” but she

did want not go “on the record” by sending a letter “due to the pending lawsuit”13

            One Louisiana court reporter wrote an email to another state trade association in which

she offered the following comments about the actions of the CSR Defendants:

            Just had time to read this garbage. They are going way beyond what the
            legislation intended and making so much work out of it by requiring that we file
            these affidavits. The out of state companies need to get together and file suit
            against the Board for trying to shut them down. This had gotten way out of hand.
            We had something done to protect the reporters and look what they’ve done with
            it.14

10
     Id.
11
     Id.
12
     Id. Exs. 24-25, 36, 47-49
13
     Id. Ex. 24 at LCRA-000577
14
     Id. Ex. 11 at VRLA_00000054.
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            Similarly, the declaration of the owner of a New Orleans court reporting firm reveals that

she was “specifically instructed to inform Veritext that we would have to cancel whatever

upcoming jobs we had on our books” and that “members of the CSR Board also shared that they

had concerns that these out-of-state court reporting firms, like Veritext, were offering discounts

for court reporting services.”15 The CSR Defendants also told her that she had no option but to

report any court reporter who showed up for the canceled depositions.16 The declaration also

reveals that she contacted “numerous board members as well as the Board legal counsel multiple

times for clarification [on the scope of Louisiana Code of Civil Procedure Article 1434] only to

be given a different understanding from each one of them, to our complete disbelief and

frustration.”17

            As set forth the attached expert report, empirical data and econometric analysis also

disclosed that: (1) rates for freelance court reporting services in Louisiana are currently and have

been historically, on average, substantially higher than in the rest of the United States; (2) rates

for court reporting services in Louisiana over the past decade have risen in Louisiana more

quickly than in the rest of the United States; (3) these higher rates have been established

artificially through the coordinated conduct of an industry cartel and are not cannot be explained

by normal economic supply and demand conditions or other non-cartel economic factors; and (4)

the cartel has been successful in substantially limiting Veritext and Esquire in their ability to

compete in Louisiana and in increasing the costs for consumers and their rivals.18


15
     Declaration of Joanne Curren (Curren Decl.) ¶ 4.
16
     Id. ¶ 5.
17
     Id. ¶¶ 4-5,10.
18
     See Breckinridge Decl. Ex. 31 (Expert Report of Robert B. Kulick, PhD (filed under seal)).

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                                    LAW AND ARGUMENT

         In their motion, the CSR Defendants do not seek summary judgment on liability, but

rather argue that Plaintiffs would not be entitled to damages or injunctive relief even if they

prevailed on liability. The argument is nonsensical. The Fifth Circuit would not have reinstated

the antitrust claim against the CSR Defendants had no remedy been available.

         A.     Defendants Are Not Entitled to Immunity.

         In Veritext Corp. v. Bonin, 901 F.3d 287 (5th Cir. 2018), the Fifth Circuit reversed this

Court’s dismissal of the Sherman Act claim on reconsideration and held “the district court was

correct the first time when it observed that Veritext alleged sufficient facts that "the board's

actions do not resemble a municipality under active supervision but instead represent an

unbridled regulatory environment.” Id. In doing so, the Fifth Circuit held that defendants are not

immune from antitrust liability based on their enforcement of Louisiana Code of Civil Procedure

Article 1434 when their conduct was not actively supervised by the State.            If the CSR

Defendants are not immune from antitrust liability, they are not immune to antitrust remedies.

         B.     Defendants Raised the Same Immunity Arguments with the Fifth Circuit.

         According to the CSR Defendants, the Court cannot award damages or injunctive relief

when Article 1434 prohibits contracting and the CSR Defendants were doing nothing more than

enforcing the law as written. This argument is simply a restatement of the immunity defense that

was rejected by the Fifth Circuit. For example, in briefing before the Fifth Circuit, the CSR

Defendants argued that: “If ultimately successful, Veritext’s Sherman Act claim would prohibit

the CSR Board from following its statutorily directed duty to put the text of Article 1434 into

effect and would thereby effectively short-circuit the immunity established by Parker.” See

Brief of Appellees, Case No. 17-30691, Rec. Doc. 00514258203 at pages 52-53; see generally
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id. Section (V)(A) at 50-65 (“The CSR Board’s Enforcement of Article 1434 Is Ipso Facto

Immune from Suit Under Parker.”). This argument is identical, to the arguments in the pending

summary judgment motion. See Memorandum in Support of Motion for Partial Summary

Judgment, Rec. Doc. 141-1 at 9-12 (“Because the Sherman Act does not preempt Article 1434,

(1) the CSR Board cannot be enjoined from enforcing its clear prohibitions and (2) the Court

Reporter Members of the Board cannot be cast in judgment for a loss of earnings resulting from

the Board’s enforcement of Article 1434’s clear prohibitions.”).

         This Court is bound by the Fifth Circuit decision in this case and by the decision in North

Carolina Board of Dental Examiners. As such, the CSR Defendants cannot avoid injunctive

relief. Nor can the CSR Defendants who have been sued in their personal capacity – i.e., the

court reporters who financially benefitted from their anticompetitive conduct – avoid damages.

         C.     Defendants Improperly Rely on Overruled Case Law.

         In support of their arguments, the CSR Defendants rely entirely on a 1983 decision by the

Eighth Circuit. See First American Title Co. v. South Dakota Land Title Assoc., 714 F.2d 1454-

55 (8th Cir. 1983). In that decision, the Eighth Circuit concluded that state regulatory boards are

absolutely immune from antitrust liability under Parker as a matter of federalism. Id. This

decision conflicted with Fifth Circuit precedent at the time and was overruled by N. Carolina

State Bd. of Dental Examiners v. FTC, 574 U.S. 494, 135 S. Ct. 1101 (2015).

         Although the CSR Defendants never mentioned it, the Eighth Circuit specifically

acknowledged its disagreement with the Fifth Circuit at the time: “First American relies on cases

from the Ninth and Fifth Circuits in arguing that the challenged regulations were not compelled

by the South Dakota legislature, thus they are not entitled to state action immunity. Ronwin v.

State Bar of Arizona, 686 F.2d 692 (9th Cir. 1981), cert. granted, 461 U.S. 926, 103 S. Ct. 2084,
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77 L. Ed. 2d 296, 51 U.S.L.W. 3825 (1983); United States v. Texas State Board of Accountancy,

464 F. Supp. 400 (W.D.Tex. 1978), modified, 592 F.2d 919 (5th Cir.), cert. denied, 444 U.S.

925, 100 S. Ct. 262, 62 L. Ed. 2d 180 (1979). Our above discussion should indicate, however,

that we are in fundamental disagreement with our brethren in these circuits regarding application

of the state action doctrine to state agencies or subdivisions. Id. at 1454-554.”

           Thus, even if the Fifth Circuit had not already reinstated the antitrust claim in this case

and even if the United States Supreme Court had not decided North Carolina State Board of

Dental Examiners, the arguments raised by the CSR Defendants fail as a matter of law

           D.       Disputed Issues of Fact Preclude Summary Judgment

           The CSR Defendants argue that Veritext and Esquire cannot recover damages because

any revenues they earned from providing court reporting services in Louisiana would have been

derived from violations of Louisiana Code of Civil Procedure Article 1434. The argument is

meritless. Article 1434 of the Louisiana Code of Civil Procedure prohibits court reporters from

accepting jobs from party-litigants or their employees. The term “employee” is defined in

subsection (A)(2) of Article 1434 as a “person employed part or full time under contract or

otherwise by a person who has a contractual relationship with a party-litigant to provide

shorthand or other court reporting services.” La. C. Civ. Pro. Art. 1434.

           At his deposition, the former Chair of the CSR-Board testified that Article 1434 prohibits

Louisiana court reporters from accepting assignments from out-of-state court reporting firms

hired by party-litigants but it does not prohibit Louisiana court reporters from accepting

assignments from out-of-state court reporting firms hired by attorneys as long as the out-of-state

firm has no agreement with the party-litigant.19 Judge Bonin further explained that court

19
     Breckinridge Decl. Ex. 30.
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reporters could work for court reporting firms hired by attorneys even when the attorneys were

directed by clients to hire the out-of-state court reporting firms so long as the clients did not have

contracts with the out-of-state firms.20 In other words, “contracting” is not prohibited generally

and not all contracts between court reporters and out-of-state court reporting firms are unlawful.

            In their Statement of Material Facts Presenting No Genuine Issue, the CSR Defendants

claim that the “court reporting services offered by Esquire and Veritext in Louisiana are provided

by certified shorthand reporters who are licensed and regulated by the Louisiana Board of

Examiners of Certified Shorthand Reporters.” The CSR Defendants then argue that Esquire and

Veritext cannot recover damages for the inflated rates charged by Louisiana court reporters

because all contracts between party litigants and court reporters are illegal. The argument fails.

            First, the CSR Defendants incorrectly assume that Plaintiffs are seeking damages based

on an overcharge theory. The expert report, however, discloses that Veritext and Esquire are

pursuing a damage theory based on raising rival costs.21 The CSR Defendants sought to exclude

Veritext and Esquire from the Louisiana market. They implemented their cartel through naked

price fixing agreements, compelling competitors to disclose pricing information, exchanges of

pricing information, and acts of intimidation that were neither contemplated nor authorized by

Article 1434. As the Fifth Circuit recognized, meeting on “How to Raise Rates” fell well outside

the contracting provisions of Article 1434.           Moreover, the expert economic analysis

demonstrates that the CSR Defendants succeeded in harming competition and, in so doing,

substantially increased the costs of doing business in Louisiana for Plaintiffs.22 Thus, Veritext

20
     Id.
21
     Id. Ex. 31.
22
     Id.

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and Esquire have alleged damages based on losses in margin and market share which cannot be

attributed to or characterized as having been derived from unlawful agreements.

         Second, the CSR Defendants made no effort whatsoever to introduce evidence to support

their assertion that Plaintiffs seek damages based on unlawful agreements between court

reporters and party litigants. The CSR Defendants offered no evidence of the existence of such

agreements. The motion, therefore, fails for lack of proof. The record evidence submitted by

Plaintiffs also creates numerous disputed issues of fact. For example, in his declaration, the

General Counsel of Esquire confirms that Esquire does not enter into contracts with party

litigants to provide court reporting services in Louisiana.     See Declaration of Avi Stadler.

Finally, as Judge Bonin explained, Article 1434 does not regulate out-of-state court reporting

firms, insurance companies, or anyone other than court reporters.         Accordingly, the CSR

Defendants cannot rely on Article 1434 to prevent Plaintiffs from recovering damages.

                                         CONCLUSION

         This Court is bound by the Fifth Circuit decision in this case and by the decision of the

United States Supreme Court in North Carolina Board of Dental Examiners. As such, the CSR

Defendants cannot avoid injunctive relief. Nor can the CSR Defendants who have been sued in

their personal capacity – i.e., the court reporters who financially benefitted from their

anticompetitive conduct – avoid damages. The CSR Defendants utilized coercive measures to

disrupt competition; measure that were ultra vires under state law. As such, as the Fifth Circuit

held, the antitrust claim against the CSR Defendants effected no intrusion on state prerogatives.

Rather, by abusing the regulatory process, the CSR Defendants have absolutely frustrated rather

than furthered the State’s policy choices and, therefore, cannot insulate themselves from federal

antitrust remedies. Their motion should be denied.
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                                               Respectfully submitted,

                                               /s/ Mark A. Cunningham
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                                               Attorneys for Plaintiffs Esquire          Deposition
                                               Solutions, LLC and Veritext Corp.


                                  CERTIFICATE OF SERVICE

         I hereby certify that a copy of the above and foregoing has been served on all parties or

their attorneys by providing the same by electronic mail, on this 12th day of November, 2019.




                                               /s/ Alexander N. Breckinridge V




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